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                                   UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF NEW YORK
                                                            REGION 2


In re: ORION HEALTHCORP, INC, ET AL.,                             §                 Case No. 18-71748
                                                                  §
                                                                                    Lead Case No. 18-71748
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 09/30/2021                                                            Petition Date: 03/16/2018



Plan Confirmed Date:02/26/2019                                                       Plan Effective Date: 03/01/2019


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Howard M. Ehrenberg, Liquidating Tee
                                                                                  Name of Authorized Party or Entity




/s/ Christopher R. Belmonte                                             C.R. Belmonte, Attorney to Liquidating Trustee
Signature of Responsible Party                                           Printed Name of Responsible Party
10/19/2021
                                                                        Duane Morris LLP
Date                                                                    230 Park Avenue
                                                                        New York, N.Y. 10169
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Debtor's Name ORION HEALTHCORP, INC, ET AL.,                                                                            Case No. 18-71748


Part 1: Summary of Post-confirmation Transfers

                                                                                                                                      Total Since
                                                                                                       Current Quarter               Effective Date

 a. Total cash disbursements                                                                                  $1,042,430                       $54,507,396
 b. Non-cash securities transferred                                                                                        $0                          $0
 c. Other non-cash property transferred                                                                                    $0                          $0
 d. Total transferred (a+b+c)                                                                                 $1,042,430                       $54,507,396

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                    Approved       Approved              Paid Current        Paid
                                                                                  Current Quarter Cumulative               Quarter         Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor               Aggregate Total
                                                                                      $2,964,548      $11,824,353          $2,964,549        $11,825,499
        Itemized Breakdown by Firm
              Firm Name                             Role
        i     Hahn & Hessen LLP                     Local Counsel                              $0       $1,640,390                   $0        $1,640,390
        ii    Pachulski Stang Ziehl & Jones LSpecial Counsel                          $1,709,091        $1,844,490         $1,709,091          $1,844,490
        iii   DLA Piper LLP (US)                    Other                                      $0        $538,822                    $0          $538,822
        iv    Howard M. Ehrenberg                   Other                               $45,000          $240,000               $45,000          $240,000
        v     SulmeyerKupetz, APC                   Local Counsel                      $101,996          $626,110            $101,996            $626,110
        vi    Duane Morris LLP                      Local Counsel                       $35,216          $149,587               $35,216          $149,587
        vii   FTI Consulting, Inc.                  Financial Professional              $53,679          $526,201               $53,679          $526,201
        viii Laglante PLLC                          Special Counsel                            $0         $14,148                    $0           $14,148
        ix    Reed Smith LLP                        Local Counsel                       $99,444          $572,390               $99,444          $572,390
        x     Thomas, Alexander, Forrester &Special Counsel                                    $0       $4,699,862                   $0        $4,699,862
        xi    Holthouse Carlin & Van Trigt LFinancial Professional                          $5,511        $44,616                $5,511           $44,616
        xii   Schnader Harrison Segal & LewOther                                               $0         $14,271                    $0           $14,271
        xiii Thompson Coburn                        Other                              $913,467          $913,467            $913,467            $913,467
        xiv Potter Anderson Corroon, LLP Special Counsel                                    $1,145                 $0            $1,145            $1,145


                                                                                    Approved       Approved              Paid Current        Paid
                                                                                  Current Quarter Cumulative               Quarter         Cumulative
b.      Professional fees & expenses (nonbankruptcy)
        incurred by or on behalf of the debtor               Aggregate Total
                                                                                               $0                  $0                $0                $0
        Itemized Breakdown by Firm
              Firm Name                             Role
        i                                                                                      $0                  $0                $0                $0
        ii                                                                                     $0                  $0                $0                $0
c.      All professional fees and expenses (debtor & committees)                               $0                  $0                $0                $0

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                  Total
                                               Anticipated                                                                                      % Paid of
                                                Payments              Paid Current                                                              Allowed
                                               Under Plan               Quarter             Paid Cumulative             Allowed Claims           Claims
 a. Administrative claims                                     $0                 $542,201             $8,860,950                $8,860,950          100%
 b. Secured claims                                  $50,000,000              $3,000,000              $39,000,000             $50,000,000             78%
 c. Priority claims                                           $0                      $0                     $0                           $0          0%

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 d. General unsecured claims                      $30,000,000                  $0                   $0         $30,000,000    0%
 e. Equity interests                                      $0                   $0                   $0


Part 4: Questionnaire
  a. Is this a final report?                                                                             Yes     No
          If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:         12/31/2022
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                Yes     No




                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Howard M. Ehrenberg                                                     Howard M. Ehrenberg
Signature of Responsible Party                                               Printed Name of Responsible Party
Liquidating Trustee                                                          10/19/2021
Title                                                                        Date




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